             Case 6:19-bk-00133-KSJ         Doc 10     Filed 02/15/19       Page 1 of 2



                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

In re:                                                        Case No.: 6:19-00133
                                                              Chapter 7
RICHARD BOURNE
PATRICIA BOURNE

                DEBTOR                        /


            TRUSTEE’S RESPONSE TO MOTION FOR RELIEF FROM STAY


         Arvind Mahendru, Trustee, files this Response to Bank of New York Mellon’s Motion

for Relief from Stay, in the above-captioned case and in support thereof states:

1. Bank of New York Mellon filed a Motion for Relief from Stay (Doc. No. 8).

2. Movant seeks to lift the stay with regard to a property located at 1031 Roanoke Court NE,

    Palm Bay, Florida 32907 (hereinafter “the Property”), purportedly so that they may pursue

    their in rem remedies in state court. The Trustee is actively attempting to sell the Property

    for the benefit of Bank of New York Mellon and the unsecured creditors of the estate. The

    Trustee believes that any action taken to foreclose on the Property would be adverse to the

    efforts of the Trustee and to that end opposes the Motion for Relief.

    WHEREFORE, the Trustee respectfully requests that the Court deny the Motion for Relief
from Stay and for any other relief as the Court deems just.



                                                     Respectfully submitted,

                                                      /s/ Arvind Mahendru __
                                                     Arvind Mahendru, Esq.
                                                     5703 Red Bug Lake Rd. #284
                                                     Winter Springs, FL 32708
                                                     407-504-2462
            Case 6:19-bk-00133-KSJ        Doc 10    Filed 02/15/19     Page 2 of 2




                             CERTIFICATE OF SERVICE


       I certify that a true and correct copy of the foregoing document was served by electronic
delivery or US first class mail to all parties listed below on February 15, 2019.

Patricia Shaffer Bourne
Richard Terry Bourne
1031 Roanoke Court NE
Palm Bay, FL 32907

Melissa Peat, Attorney via ECF

Bank of New York Mellon c/o Gavin Stewart, Esq. via ECF

                                                   /s/ Arvind Mahendru     __
                                                   Arvind Mahendru
